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                                                                         FILED
                                                                            JAN 2 3 2020
                 IN THE UNITED STATES DISTRICT COURT
                                                                         Clerk, U.S. District C1;>1,J.rt
                     FOR THE DISTRICT OF MONTANA                            District Of Montan.@
                          MISSOULA DIVISION                                       Missoula




 UNITED STATES OF AMERICA,
                                                    CR 19-49-M-DLC
                       Plaintiff,

        vs.                                          ORDER

 KRISTAL PATRICIA LEONARD,

                       Defendant.

      Before the Court is Defendant Kristal Patricia Leonard's Motion in Limine

seeking a pretrial ruling on Leonard's request to present a duress defense at trial

and to receive a jury instruction on duress. (Doc. 51.) Leonard requests a separate

hearing on this motion. (See Doc. 51-1 at 1.) Leonard's brief in support of her

motion details the evidence that she intends to offer at trial. (See 51-1.) The

Government opposes the motion on the ground that it is premature. (Doc. 53.)

The Court agrees.

      A motion in limine is used to seek an advance ruling on evidence the parties

intend to introduce at trial. The decision on a motion in limine is consigned to the

district court's discretion-including the decision of whether to rule before trial at

all. United States v. Bensimon, 172 F.3d 1121, 1127 (9th Cir. 1999).


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A motion in limine "should not be used to resolve factual disputes or weigh

evidence." BNSF Ry. v. Quad City Testing Laboratory, Inc., 2010 WL 4337827, at

* 1 (D. Mont. Oct. 26, 2010). While a motion in limine may save "time, costs,

effort and preparation" .. . "a court is almost always better situated during the

actual trial to assess the value and utility of evidence." BNSF Ry. v. Quad City

Testing Laboratory, Inc., 2010 WL 4337827, at *1 (D. Mont. Oct. 26, 2010).

         Here, the advance ruling that Leonard seeks is not one that will save "time,

costs, effort [or] preparation." Id. If anything, conducting a hearing on this matter

and ruling in advance of trial contravenes judicial efficiency and costs the parties

additional time. However, the Court assures Leonard that she is welcome to

introduce all admissible evidence relevant to any defenses she may have. Once the

Court has seen this evidence, the Court will offer the jury any instruction that is

appropriate. See United States v. Sotelo-Murillo, 887 F .2d 176, 179 (9th Cir.

1989).

         IT IS ORDERED that Leonard's Motion in Limine (Doc. 53) is DENIED.

      DATED this 2,3.,"aay of January, 2020.




                                                 Dana L. Christensen, Chief Judge
                                                 United States District Court
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